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14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                          OAKLAND DIVISION
17
   NARCISO FUENTES, individually, on behalf       Case No. 4:16-cv-02001-JSW
18 of others similarly situated, and on behalf of
   the general public,                            JOINT CASE MANAGEMENT
19                                                STATEMENT AND ORDER VACATING CASE
                           Plaintiff,             MANAGEMENT CONFERENCE
20                                                Date: March 24, 2023
           vs.                                    Time: 11:00 a.m.
21                                                Courtroom 5, 2nd Floor (Oakland)
   DISH NETWORK, L.L.C.; and DOES 1               Hon. Jeffrey S. White
22 through 50, inclusive,

23                     Defendants.
     ____________________________________
24

25             Plaintiff NARCISO FUENTES (“Plaintiff” or “NARCISO FUENTES”) and Defendant
26 DISH NETWORK L.L.C. (“Defendant” or “DISH”) (collectively “the Parties”), by their

27 undersigned counsel, submit this Joint Case Management Statement, pursuant to Federal Rule of

28   009617.0065 4878-6412-1432.1
                                                                       Case No. 4:16-cv-02001-JSW
                                                                  Joint Case Management Statement
        Case 4:16-cv-02001-JSW Document 185 Filed 03/22/23 Page 2 of 3




 1 Civil Procedure 26 and Civil Local Rule 16-9, and this Court’s Orders of December 6, 2022,

 2 January 13, 2023, and March 16, 2023 (Dkt. Nos. 175, 179, and 183).

 3             In accordance with the Court’s Orders of January 13, 2023 and March 16, 2023 (Dkt. Nos.

 4 179 and 183), and as a result of the Court’s Order Denying Defendant’s Motion for

 5 Reconsideration (Dkt. No. 183) (the “Reconsideration Order”), Plaintiff will file a Motion for

 6 Remand within fourteen dates of the Reconsideration Order, that is, on March 30, 2023, with a

 7 requested hearing date of May 5, 2023. Defendant will oppose the Motion to Remand and will file

 8 its opposition in accordance with Northern District of California Local Rule 7-3, that is, on April
 9 13, 2023. Plaintiff will file his reply in in accordance with Northern District of California Local

10 Rule 7-3, that is, on April 20, 2023.

11             The parties request that the Court continue the case management conference scheduled for
12 March 24, 2023 at 11:00 a.m. to a date after the Court resolves the Motion to Remand.

13
     Dated: March 22, 2023                           HOUSING & ECONOMIC RIGHTS ADVOCATES
14                                                   CONN LAW, PC
15
                                             By:     /s/ Elliot Conn
16                                                   ELLIOT CONN
                                                     Attorneys for Plaintiff NARCISO FUENTES
17
     Dated: March 22, 2023                           COBLENTZ PATCH DUFFY & BASS LLP
18

19                                           By:     /s/ Clifford E. Yin
                                                     CLIFFORD E. YIN
20                                                   Attorneys for Defendant DISH NETWORK L.L.C.
21
                                              ECF CERTIFICATION
22
               Pursuant to Civil Local Rule 5-1(h)(3), I, Elliot Conn, attest that I obtained concurrence in
23
     the filing of this document from the above Signatories.
24

25 Dated: March 22, 2023                             CONN LAW, PC

26
                                             By:     /s/ Elliot Conn
27                                                   ELLIOT CONN
                                                     Attorneys for Plaintiff NARCISO FUENTES
28   009617.0065 4878-6412-1432.1                         2
                                                                               Case No. 4:16-cv-02001-JSW
                                                                          Joint Case Management Statement
        Case 4:16-cv-02001-JSW Document 185 Filed 03/22/23 Page 3 of 3




 1                                               ORDER
                                                                                  11:00
 2             Good cause appearing, the Case Management Conference scheduled for 10:00 a.m. on

 3 March 24, 2023 is hereby continued to 10:00 a.m. to _____________________. VACATED.
   The Court will reschedule the conference, if necessary, when it resolves Plaintiff's anticipated motion to
 4
   remand.
 5 DATED: March __, 22 2023                            _________________________
                                                       United States District Judge
 6                                                     JEFFREY S. WHITE
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28   009617.0065 4878-6412-1432.1                     3
                                                                           Case No. 4:16-cv-02001-JSW
                                                                      Joint Case Management Statement
